                      Case 1:24-cr-10090-WGY Document 1 Filed 04/03/24 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                   District of
                                               __________      Massachusetts
                                                            District of __________

                  United States of America                       )
                             v.                                  )
                      JASON HUNTER
                                                                 )      Case No.
                     WALTER NORTON                               )                 24-7150-JCB
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  April 3, 2024               in the county of               Suffolk         in the
                       District of       Massachusetts      , the defendant(s) violated:

            Code Section                                                   Offense Description
21 U.S.C. § 846                              Conspiracy to distribute and to possess with intent to distribute
                                             methamphetamine and marijuana




         This criminal complaint is based on these facts:
See attached Affidavit of DEA Special Agent Ryan P. Glynn.




         ✔ Continued on the attached sheet.
         u


                                                                                           Complainant’s signature

                                                                                   Ryan P. Glynn, DEA Special Agent
                                                                                            Printed name and title

SXEVFULEHGDQGVZRUQWRYLDWHOHSKRQHLQDFFRUGDQFHZLWK
)HGHUDO5XOHRI&ULPLQDO3URFHGXUH

Date:             04/03/2024
                                                                                              Judge’s signature

City and state:                   Boston, Massachusetts                       Hon. Jennifer C. Boal, U.S. Magistrate Judge
                                                                                            Printed name and title
